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                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF COLORADO

 In Re:                                                                                  Chapter 13
                                                                            Case No. 18-18542-EEB

 PAUL GEORGE HARDY and STEPHANIE JO HARDY, Debtors,

 U.S. BANK NATIONAL ASSOCIATION, Movant.


                                        ORDER APPROVING STIPULATION


        THIS MATTER came before the Court upon the Stipulation of PAUL GEORGE
 HARDY and STEPHANIE JO HARDY ("Debtors") and U.S. BANK NATIONAL
 ASSOCIATION, ("Movant"). The Court has reviewed the Stipulation and FINDS that the parties
 have reached an agreement regarding relief from the automatic stay imposed by 11 U.S.C §362.
 The Court being apprised in the premises,

        ORDERS that all terms of the Stipulation are hereby approved by the Court on the
 following described real property:

           LOT 1, BLOCK 4, COUNTRY HILLS SUBDIVISION FILING NO. 4, AMENDMENT
           NO. 1, COUNTY OF ADAMS, STATE OF COLORADO.,

           aka 13102 BELLAIRE DRIVE THORNTON, COLORADO 80241.

       IT IS FURTHER ORDERED that the requirements of Fed.R.B.P. 4001(a)(3) have been
 waived.

           Any hearing scheduled on the Motion for Relief is hereby vacated.


 Dated:                                             .                   BY THE COURT:


                                                    U.S. Bankruptcy Judge




 CO - Chapter 13 Stipulation - Colorado/Colorado/
